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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                           Criminal No. LKG 22-007

                v.

 MARILYN J. MOSBY,

                        Defendant



                          MOTION TO WITHDRAW AS COUNSEL

       Comes now, counsel for the Defendant, and request that the Court allow the withdrawal of

defense counsel A. Scott Bolden, Rizwan A. Qureshi, Kelley Miller, Anthony R. Todd, Gary E.

Proctor and Lucius Outlaw. In support thereof, counsel state as follows:

       1.      In ECF 172 this Court issued a Memorandum Opinion with respect to counsel. Due

to the Court’s ruling, counsel believes that Mr. Bolden, Mr. Qureshi, Mr. Todd and Ms. Miller (all

of whom are employed by the same law firm) have a conflict, may represent Ms. Mosby no further,

and must immediately move to withdraw from this matter. MD Rules Attorneys, Rule 19-

301.7(a)(2); DC Rules of Professional Conduct Rule 1.7(a)(4), Illinois Rules of Professional

Conduct Rule 1.7(a). Counsel has discussed this motion with Ms. Mosby, and she consents to the

appearance of Mr. Bolden, Mr. Qureshi, Mr. Todd and Ms. Miller being withdrawn in this matter.

       2.      Defense counsel, Lucius Outlaw and the undersigned, Mr. Proctor, hereby move

this Court that they be allowed to withdraw also. Mr. Outlaw is a full-time Law Professor and his

duties and limited support resources preclude him from serving as lead counsel in this

matter, especially since the current trial date is set within the current semester and therefore

conflicts with his teaching obligations. Similarly, Mr. Proctor’s role in this matter has at all times
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been limited and his commitments in his other cases and limited support resources prevent him

from taking on lead counsel responsibility.

       3.      The undersigned has discussed this pleading with the Federal Public Defender

James Wyda. Mr. Wyda has authorized the undersigned to state that, should the Court sign the

attached Proposed Order, the Office of the Federal Public Defender for Maryland has no conflict

in this matter and is available for appointment to serve as Ms. Mosby’s counsel. As such,

Defendant will not be in a position where she is unrepresented by counsel. All of the undersigned

counsel have committed to support the Federal Public Defender with the transition in any way that

would be of assistance to them.

       4.      Defendant requests that the all deadlines in this matter be held in abeyance, until

new counsel has entered their appearance. Undersigned counsel has spoken with Assistant United

States Attorney Leo Wise. As of the time of filing the instant motion, the Government’s position

is not known to defense counsel.

       5.      The undersigned has shared a draft of this motion with the Defendant, Ms. Mosby,

who has authorized him to state that she agrees and requests that the Court grant the withdrawal

of counsel as noted herein, and that the Federal Public Defender be appointed by this Court.




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Dated: January 19, 2023        Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this day, January 19, 2023, a copy of the foregoing was served on

all parties via ECF.



                                                           ___________/s/_____________

                                                                   Gary E. Proctor




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